 8:06-cr-00271-LSC-TDT      Doc # 81    Filed: 11/30/06   Page 1 of 1 - Page ID # 151




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,      )
                               )                     8:06CR271
                Plaintiff,     )
                               )
     vs.                       )                      ORDER
                               )
ROSA MARIA FLORES-TAPIA,       )
SANDRA LUZ VILLANUEVA BARRIOS, )
CARMINA ARRELLANO RODRIGUEZ, )
RICARDO VILLA SOSA and         )
MELECIO GARCIA RANGEL,         )
                               )
                Defendants.    )


      Defendant Ricardo Villa Sosa’s Motion to Continue (Filing No. 78) is granted.
      IT IS ORDERED that the evidentiary hearing on all pending motions is continued
to January 3, 2007, at 1:00 p.m. before Magistrate Judge Thomas D. Thalken,
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska.
      Since this is a criminal case, all defendants with pending motions must be
present unless excused by the Court.
      DATED this 30th day of November, 2006.
                                        BY THE COURT:


                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
